                        UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

JOSE JUAN MAYSONET, JR.,                           )
                                                   )
                     Plaintiff,                    )
                                                   )
        v.                                         )      Case No. 18-CV-2342
                                                   )
REYNALDO GUEVARA, ET. AL.                          )      District Judge Mary M. Rowland
                                                   )      Magistrate Judge Keri L. Holleb
                     Defendants.                   )

               EXHIBIT INDEX TO DEFENDANT CITY OF CHICAGO’S
             LOCAL RULE 56.1(a)(3) STATEMENT OF MATERIAL FACTS
             IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT

  Exhibit    Description
   No.
    1        Stipulation on Monell Theories at Trial (Dkt. 347)
    2        Plaintiff’s Responses to Defendant City of Chicago’s First Set of Interrogatories
             to Plaintiff
    3        Deposition of James Hickey, Kluppelberg v. Burge, N.D. Ill., 13-CV-03963 (part
             I dated 7/29/14)
    4        Deposition of James Hickey, Rivera v. Guevara, N.D. Ill, 12-CV-4428 (part II
             dated 6/10/14)
    5        Deposition of Commander Eric Winstrom, Solache v. Guevara, N.D. Ill., 18-CV-
             2312, and DeLeon-Reyes v. Guevara, N.D. Ill., 18-CV-1028 (dated 12/17/21)
    6        Detective Division Notice 82-2 (RFC-Maysonet 48320)
    7        Deposition of James Hickey in Rivera (part I dated 5/6/14)
    8        S.O. 83-1 (RFC-Maysonet 49080-81)
    9        SO 83-2 (NF-L 8746)
    10       S.O. 86-3 (RFC-Maysonet 49090)
    11       CPD General Order 83-5 (RFC-Maysonet 14457-14536)
    12       Deposition of Lt. Robert Flores (dated 10/17/22)
    13       Complaint Category Tables (RFC- Maysonet 50214-15)
    14       CPD General Order 83-3 (RFC-Maysonet 48432-35)
    15       Tiderington Report in Maysonet (with exhibits)
    16       Tiderington Deposition from Maysonet (dated 4/28/23)
    17       Tiderington Dep from Solache/Reyes (dated 10/6/22)
    18       Tiderington Deposition from Sierra (dated 12/8/22)
    19       Tiderington Invoice from Sierra dated 9/18/22 (TIDERINGTON 002475-76)
    20       Tiderington Deposition from Iglesias dated 2/13/23
    21       Tiderington Invoice from Iglesias dated 11/19/22
    22       Tiderington Invoice from Maysonet dated 1/18/23
23   Tiderington Report in Sierra (with exhibits)
24   Bernie Murray’s Expert Report in Maysonet
25   Hickey Dep in Rivera N.D. Ill, 12-CV-4428 (part I dated 5/6/14)
26   Filed Under Seal CCSAO 874-881
27   Dr. Shane’s Report dated 1/13/23
28   Dr. Shane’s deposition dated 3/10/23
29   Dr. Shane’s deposition dated 5/26/23
30   Jeff Noble’s Report dated 10/23/23
31   STANDARDS AND GUIDELINES FOR INTERNAL AFFAIRS:
     Recommendations from a Community of Practice (2012)
32   Plaintiff’s Fourth Request for Production of Documents to the City
33   Plaintiff’s First Request for Production of Documents to the City
34   Filed Under Seal CR File 152902
35   Filed Under Seal CR File 150473
36   Filed Under Seal CR File 168160
37   Filed Under Seal CR File 152612
38   Filed Under Seal CR File 157627
39   Filed Under Seal CR File 123850
40   Filed Under Seal CR File 146819
41   Filed Under Seal CR File 163692
42   Filed Under Seal CR File 152507
43   Filed Under Seal CR File 155500
44   Filed Under Seal CR File 170855
45   Filed Under Seal CR File 171220
46   Filed Under Seal CR File 171841
47   Filed Under Seal CR File 172123
48   Filed Under Seal Officer Disciplinary History, at RFC-Maysonet 993
49   Tiderington Dep from Johnson (dated 9/20/23) – Paragraph 38, 41
50   GPR (CCSAO 53316)
51   Lease (CCSAO 53426)
52   Deposition of Paulnitsky
53   Filed Under Seal Mingey Personnel File (RFC-Maysonet 1080, 1084-85)
54   Deposition of Montilla
55   Filed Under Seal Guevara’s Personnel File (RFC-Maysonet 1235-37)
56   Filed Under Seal Halvorsen’s Personnel File (RFC-Maysonet 1375, 1397-1400)
